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    1 JASON C. LO, SBN 219030                       JASON SHEASBY, SBN 205455
         jlo@gibsondunn.com                            jsheasby@irell.com
    2 MATTHEW BENJAMIN (pro hac vice)               IRELL & MANELLA LLP
    3    mbenjamin@gibsondunn.com                   1800 Ave. of the Stars
      RAYMOND A. LAMAGNA, SBN 244821                 Los Angeles, CA 90067
    4     rlamagna@gibsondunn.com                    Telephone: 310.203.7096
      GIBSON, DUNN & CRUTCHER LLP                    Facsimile: 310.203.7199
    5 333 South Grand Avenue
      Los Angeles, CA 90071-3197
    6 Telephone: 213.229.7000
    7 Facsimile: 213.229.7520
    8 Attorneys for Plaintiff Netlist Inc.
    9                         UNITED STATES DISTRICT COURT
   10                       CENTRAL DISTRICT OF CALIFORNIA
   11                                  SOUTHERN DIVISION
   12
      NETLIST INC., a Delaware                 CASE NO. 8:20-cv-993-MCS (ADS)
   13 corporation,
                                              REDACTED VERSION OF NETLIST
   14                     Plaintiff,          INC.’S OPPOSITION TO SAMSUNG
   15                                         ELECTRONICS CO., LTD.’S
             v.                               MOTION FOR JUDGMENT ON THE
   16 SAMSUNG ELECTRONICS CO.,                PLEADINGS PROPOSED TO BE
                                              FILED UNDER SEAL
   17 LTD., a Korean corporation,
   18                     Defendant.
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    1             The plain terms of the Joint Development and License Agreement (“JDLA”)
    2 obligated Samsung to supply Netlist with NAND and DRAM at Netlist’s request, to
    3 only withhold taxes as required under Korean law, and to cooperate with Netlist in
    4 recovering any withholdings from the Korean tax authority. Netlist alleges that
    5 Samsung failed to comply with each of these contractual obligations. That is
    6 sufficient under the relevant pleadings standards. Samsung argues that it had no
    7 obligation to supply Netlist with product (though Samsung substantially complied
    8 with the terms of its supply obligation for nearly two years and never before raised
    9 the provision’s enforceability) and that it was not required to cooperate with
   10 Netlist’s efforts to recover payment from the Korean tax authority (despite express
   11 contractual language to the contrary). But Samsung’s arguments grossly distort the
   12 plain text of the JDLA into something that makes no logical sense and that Samsung
   13 knows is contrary to the facts.
   14             For instance, during contract negotiations, Samsung proposed that the JDLA
   15 state that its provisions
   16                           This language was struck by the parties, and the final version
   17 of the JDLA instead incorporates the imperative that Samsung “will supply NAND
   18 and DRAM products to Netlist on Netlist’s request.” Samsung’s motion for
   19 judgment on the pleadings (the “Motion”) thus asks this Court to read back into the
   20 contract language that the parties chose to exclude. Samsung’s litigation position
   21 also flies in the face of Samsung’s candid internal assessment of its obligations to
   22 Netlist and is directly contradicted by a ruling by the Korean Tax Tribunal
   23 confirming that Samsung’s withholdings were improper.
   24             In short, the Motion should be denied because Samsung’s reading of the
   25 disputed provisions is unreasonable, will be contradicted by the factual record, and
   26 cannot be decided solely from the face of the complaint.
   27
   28
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    1 I.          FACTUAL BACKGROUND
    2             A.       Samsung’s breach of its supply obligation
    3             1.       Netlist and Samsung entered into the JDLA on November 11, 2015,
    4 under which Netlist obtained something of significant value: a dependable and
    5 stable supply of NAND and DRAM products from Samsung. FAC ¶¶ 9-10. Section
    6 6.2 expressly provides: “Samsung will supply NAND and DRAM products to
    7 Netlist on Netlist’s request at a competitive price (i.e., among customers purchasing
    8 similar volumes of similar products).” Id.
    9             2.       In the year prior to entering the JDLA, Samsung supplied less than
   10                  worth of its products to Netlist. Id. ¶ 11. After signing, however, Netlist
   11 exercised its contractual right and requested product supply from Samsung that was
   12 substantially granted. Id. In 2016, Samsung supplied Netlist approximately
   13                 in NAND and DRAM products. In 2017, Samsung’s supply increased to
   14 approximately                        Id.
   15             3.       But in the second half of 2017, Samsung began refusing to fill Netlist’s
   16 orders. Id. ¶ 17.
   17             4.       By repeatedly breaching its contractual obligation to supply the
   18 requested products, Samsung forced Netlist to forgo business opportunities and
   19 purchase NAND and DRAM products at higher prices in the secondary market. Id.
   20 ¶ 14. Netlist was unable to obtain many products that Samsung historically
   21 provided and was required to supply under the JDLA. Id. When Samsung failed to
   22 fulfill Netlist’s orders, Netlist could not supply its customers and lost business
   23 opportunities and profits it otherwise would have earned had Samsung performed as
   24 required. Id. In addition, Netlist paid higher prices for smaller volumes of the
   25 NAND and DRAM products that could be purchased in the secondary market. Id.
   26             5.       The facts that will be adduced at trial will provide substantial evidence
   27 in support of these allegations. The supply obligation provision was heavily
   28 negotiated and carefully drafted by the parties. Samsung sent Netlist a term sheet
                                                                             NETLIST INC.’S OPPOSITION TO SAMSUNG
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     1 identifying
     2                                                                       Ex. 2.1 In explaining
     3 this clause, Samsung stated that
     4
     5
     6                                                                                             See id.
     7             6.   Samsung subsequently proposed an insertion stating that
     8
     9                                                                   Ex. 3 at ‘856. Netlist
    10 struck the language, making clear that the supply obligation was firm and binding.
    11 See Ex. 4 at ‘877, 885
    12
    13
    14
    15                                                                                    Consistent
    16 with the language Netlist came back with, the final version of the JDLA excludes
    17 Samsung’s proposed language and instead states that Samsung “will supply NAND
    18 and DRAM products to Netlist on Netlist’s request.” JDLA § 6.2.
    19             7.   Samsung’s supply obligation was critical from Netlist’s perspective.
    20 First, the semiconductor industry has historically experienced cyclical shortages of
    21 NAND and DRAM, so Netlist aimed to reduce its risk from such disruptions. Hong
    22 Decl. ¶ 4. Second, Samsung supplies NAND and DRAM directly only to a small,
    23 select group of the leading technology companies in the world. A direct supply
    24 relationship with Samsung thus legitimized Netlist in the industry and gave
    25 assurance to Netlist’s customers. Id.
    26
    27
         1
        Citations in the form of “Ex. __” refer to exhibits to the LaMagna Decl. filed
    28 herewith. All emphasis is added unless otherwise noted.
                                                                         NETLIST INC.’S OPPOSITION TO SAMSUNG
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     1             8.    Reflecting the significance of the direct supply relationship, Samsung
     2 provided Netlist with written confirmation that Netlist was authorized to purchase
     3 “Samsung Electronics Co., Ltd.’s full line of memory semiconductor products to
     4 support Netlist’s products and customers” and that Netlist was now a “direct
     5 customer of Samsung . . . with purchase orders placed directly with Samsung and
     6 shipments made from Samsung to Netlist.” See Ex. 6.
     7             9.    The terms of Samsung’s supply obligation were central to the overall
     8 negotiation of the JDLA. Netlist pressed Samsung for a higher non-recurring
     9 engineering (“NRE”) fee, but ultimately agreed to reduce its ask in exchange for
    10 Samsung’s commitment that the supply obligation would be firm and binding. See
    11 Exs. 1, 4 at ‘877, 885. Netlist’s earliest term sheet to Samsung sent in April 2015
    12 proposed an                                                     See Ex. 1. Samsung
    13 countered with a
    14
    15                   See Ex. 2.
    16             10.   Because securing a direct supply of NAND and DRAM was critical to
    17 Netlist, it was willing to make a number of important concessions to Samsung in
    18 exchange. Hong Decl. ¶¶ 4-5. Chief among these, Samsung sought and obtained a
    19 valuable license to Netlist’s patents, which Netlist ultimately agreed to even though
    20 Samsung provided only a smaller monetary payment to support an engineering
    21 collaboration between the parties. See Ex. 2; JDLA § 8.2 (granting Samsung “a
    22 perpetual . . . paid-up, worldwide, non-exclusive, non-transferable, non-
    23 sublicensable license under Netlist’s Licensed Patents to make and have made . . .
    24 Samsung’s Licensed Products, and to use, sell, offer for sale, import and otherwise
    25 transfer or dispose of such products”); § 3.1 ($8 million NRE fee).
    26             11.   Samsung acknowledged to the Korean government that it received
    27 significant consideration from Netlist, stating its
    28
                                                                          NETLIST INC.’S OPPOSITION TO SAMSUNG
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     1
     2                                            Ex. 14 at ‘763, ‘768 (emphasis added).
     3             12.   Samsung did not claim at any point prior to this litigation that the
     4 supply obligation in JDLA § 6.2 was unenforceable. To the contrary, Samsung
     5 operated under that provision for nearly two years before deciding to breach, and
     6 Samsung’s own personnel involved in drafting the JDLA expressly acknowledged
     7 “Netlist and Samsung’s cooperation and supply terms per agreement (JDLA).” See
     8 Ex. 5.
     9             13.   After the JDLA was signed through the time Netlist sent its notice of
    10 material breach, Netlist attempted to fill its entire requirement for Samsung NAND
    11 and DRAM from Samsung. Hong Decl. ¶¶ 6, 8. The market for NAND and DRAM
    12 memory supply is effectively an oligopoly between Micron, SK Hynix, and
    13 Samsung. Id. Although all three offer NAND and DRAM products, the products
    14 from the three suppliers are not interchangeable because each company implements
    15 different design and fabrication processes, resulting in varying speed, power, and
    16 endurance characteristics in customers’ server and storage systems. Id. For those
    17 Netlist customers who have qualified a given server or system to run on Samsung
    18 NAND and DRAM, the mutual understanding of the parties was that Netlist would
    19 obtain Samsung products directly from Samsung. Id. Thus, Netlist sought to buy
    20 all of its NAND and DRAM products for its customers using Samsung designs
    21 directly from Samsung. Id.
    22             14.   When Samsung failed to fulfill Netlist’s orders, Netlist could not
    23 supply its customers and lost business opportunities and profits it otherwise would
    24 have earned had Samsung performed as required under the JDLA. In particular,
    25
    26                                                                Hong Decl. ¶¶ 9-12.
    27
    28
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     1             15.   Samsung’s breach was intentional and made in bad faith. Samsung told
     2 Netlist that it intended to cease supplying Netlist, even though it knew of Netlist’s
     3 need for these products. Dkt. 84-18, Hong Decl. ¶¶ 7-12; Paik Ki Hong Decl. ¶¶ 3-
     4 9. Netlist provided regular forecasts to Samsung showing the amount of Samsung’s
     5 product it would need. See Ex. 10. Netlist explained its requirements to Samsung
     6 with reference to specifically identified customers and emphasized to Samsung that
     7 its “[p]roduct allocation support [was] critical.” See Ex. 7 at ‘039-51. Netlist was
     8 explicit with its concerns, which Samsung ignored. Netlist’s Vice President wrote
     9 to Samsung: “I was just told that Samsung North America has decided to give
    10 Netlist $0 allocation and no support. This is a problem . . . We have a JDLA that
    11 states Samsung will support Netlist[.] We have on paper that Samsung will support
    12 Netlist” and lacks another way to “move forward.” See Ex. 9.
    13             B.    Samsung’s breach of Section 3 of the JDLA
    14             16.   Section 3.1 of the JDLA provides that Samsung “shall pay to Netlist
    15 eight million United States dollars ($8,000,000) as non-refundable NRE [non-
    16 recurring engineering] fees” to compensate Netlist for its development costs. FAC
    17 ¶ 15. It permits Samsung to withhold taxes due or payable to the Korean tax
    18 authority only if “required to do so by applicable law,” and, even then, it requires
    19 Samsung to “reasonably cooperate with Netlist in any lawful efforts to claim a credit
    20 or refund or exemption with respect to any such withholding taxes.” Id.
    21             17.   Shortly after entering the JDLA, Samsung withheld $1,320,000 of the
    22 $8 million owed to Netlist under Section 3.1. Id. ¶ 16. Samsung claims it paid this
    23 withholding to the Korean tax authority, even though, as the Korean Tax Tribunal
    24 subsequently ruled, the $8 million payment to Netlist was not properly taxable in
    25 Korea. Ex. 13. The withholding was a surprise to Netlist, which had understood
    26 that the amount would not be taxed in Korea under the applicable law. Id.
    27             18.   Notwithstanding its contractual obligation to cooperate with Netlist,
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     1 Samsung refused to aid Netlist’s efforts to recover the improperly withheld funds.
     2 II.         ARGUMENT
     3             Judgment on the pleadings is only properly granted where “there is no issue
     4 of material fact in dispute and [the movant] is entitled to judgment as a matter of
     5 law.” Fleming v. Pickard, 581 F.3d 922, 925 (9th Cir. 2009). The Court “must
     6 accept all factual allegations in the complaint as true and construe them in the light
     7 most favorable to the non-moving party.” Id. Where the motion for judgment on
     8 the pleadings centers on a contract dispute, the moving party must show that the
     9 contract’s meaning is unambiguous; the motion must be denied unless the moving
    10 party has proffered the only reasonable reading of the contract. See CenturyLink,
    11 Inc. v. DISH Network, L.L.C., 554 F. App’x 51, 53 (2d Cir. 2014). In addition,
    12 pursuant to Rule 12(d), “[a]ll parties must be given a reasonable opportunity to
    13 present all the material that is pertinent to the motion.”
    14             The pleadings here are sufficient to deny Samsung’s motion because
    15 Samsung has not demonstrated that the JDLA unambiguously supports Samsung’s
    16 arguments. To the contrary, the FAC specifically alleges breach of unambiguous
    17 language requiring Samsung to supply NAND and DRAM to Netlist and to
    18 cooperate with Netlist in securing the amount over-withheld by the Korean tax
    19 authorities. See FAC ¶¶ 10-18. To prevail on its breach claims under New York
    20 law, Netlist must show “(1) a contract; (2) performance of the contract by one party;
    21 (3) breach by the other party; and (4) damages.” Terwilliger v. Terwilliger, 206
    22 F.3d 240, 246 (2d Cir. 2000). It has done so. First, the parties entered into an
    23 enforceable JDLA. FAC ¶ 9. That complex commercial agreement was carefully
    24 negotiated and supported by multiple forms of consideration. In exchange for the
    25 highly valuable supply obligation Netlist secured from Samsung, Netlist, among
    26 other things, provided Samsung with a license to its patents. See JDLA § 8.2; supra
    27 ¶¶ 5-11. Contrary to its position now, Samsung supplied product under JDLA § 6.2
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     1 for nearly two years and never once claimed the contract was unenforceable until
     2 this litigation. FAC ¶ 11; supra ¶ 12; see Federal Ins. Co. v. Americas Ins. Co., 258
     3 A.D.2d 39, 44 (N.Y. App. Div. 1999) (“[T]he parties’ course of performance under
     4 the contract is considered to be the most persuasive evidence of the agreed intention
     5 of the parties.”). Second, Netlist has performed all material obligations owed to
     6 Samsung under the JDLA, and Samsung does not argue to the contrary. Id. ¶ 28.
     7 Third, Samsung breached the plain terms of JDLA § 6.2 by refusing in bad faith to
     8 fill Netlist’s orders and cutting Netlist’s supply allocation without explanation, and
     9 it also breached JDLA § 3 by withholding funds from its agreed payment to Netlist
    10 and failing to cooperate in the recovery of this money. Id. ¶¶ 12-14, 16-18. Finally,
    11 Samsung’s breaches damaged Netlist’s business and caused it substantial
    12 commercial harm. Id. ¶¶ 14, 18, 29, 34.
    13             However, if the Court determines that additional facts are necessary to sustain
    14 Netlist’s claims, Netlist requests leave to amend to include the facts in paragraphs 5-
    15 15 and 17, supra. See, e.g., Gamble v. Synchrony Bank, 2020 WL 4258646, at *4
    16 (C.D. Cal. Apr. 30, 2020) (“Courts retain discretion to grant Rule 12(c) motions
    17 with leave to amend,” especially where “any delay in amendment stems from
    18 [defendant’s] decision to file a motion for judgment under Rule 12(c) after the
    19 pleadings closed”). The only ground offered by Samsung for refusing leave to
    20 amend is its naked assertion that amendment would be futile, which would require
    21 Samsung to demonstrate that “there is no set of facts which can be proved under
    22 [an] amendment which would constitute a valid claim.” Netbula LLC v. Distinct
    23 Corp., 212 F.R.D. 534, 539 (N.D. Cal. 2003). Samsung has made no such
    24 demonstration. Given the strong preference for deciding cases “on the merits, rather
    25 than on the pleadings or technicalities,” Lopez v. Smith, 203 F.3d 1122, 1127 (9th
    26 Cir. 2000) (en banc), denial of leave to demand for futility “is rare,” Netbula, 212
    27 F.R.D. at 539. A draft proposed amended complaint is attached as Exhibit 18.
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     1             A.    The JDLA is a valid and enforceable contract
     2                   1.    Section 6.2 imposes a binding supply obligation
     3             The JDLA should be “enforced according to the plain meaning of its terms.”
     4 Greenfield v. Philles Recs., Inc., 98 N.Y.2d 562, 569 (2002). And the plain terms of
     5 the JDLA expressly provide that “Samsung will supply NAND and DRAM products
     6 to Netlist on Netlist’s request at a competitive price (i.e., among customers
     7 purchasing similar volumes of similar products).” JDLA § 6.2 (emphasis added).
     8 Section 6.2 means what it says: Samsung is obligated to supply NAND and DRAM
     9 products to Netlist at Netlist’s request.
    10             Samsung’s reading of § 6.2 as imposing “only a pricing obligation by
    11 Samsung” is not a reasonable interpretation of the contract, much less the only
    12 reasonable interpretation. Motion at 7. And for this reason alone, Samsung’s
    13 pleadings-based motion fails as a matter of law. Samsung asserts that what § 6.2
    14 really means is that if it chose to supply any NAND or DRAM products to Netlist, it
    15 must do so at a competitive price. But the JDLA does not say that Samsung “may”
    16 or “can supply” products to Netlist. The parties used the imperative “will supply,”
    17 full stop. Under New York law, the word “‘will’ . . . is one of binding obligation,
    18 not election.” Zheng v. City of N.Y., 19 N.Y.3d 556, 580 (2012). Samsung cannot
    19 read that word out of the agreement. See, e.g., Orchard Hill Master Fund Ltd. v.
    20 SBA Commc’ns Corp., 830 F.3d 152, 157 (2d Cir. 2016) (A “contract should be
    21 construed so as to give full meaning and effect to all of its provisions.”); Two Guys
    22 from Harrison-N.Y., Inc. v. S.F.R. Realty Assocs., 63 N.Y.2d 396, 403 (1984) (court
    23 should “avoid an interpretation that would leave contractual clauses meaningless”).
    24 To emphasize that § 6.2 concerns Samsung’s supply obligation, the provision is
    25 explicitly entitled “Supply by Samsung” and appears in the section of the JDLA
    26 entitled “SUPPLY OF COMPONENTS.” JDLA § 6. Moreover, internal Samsung
    27 documents make clear that Samsung understood § 6.2 as imposing an obligation to
    28 supply memory chips to Netlist on Netlist’s request, rather than imposing a
                                                                         NETLIST INC.’S OPPOSITION TO SAMSUNG
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     1 supposed low-cost requirement—that is, Samsung’s internal documents conflict
     2 with the positions its lawyers now take before the Court. See Exs. 15-17.
     3             Indeed, a low-cost requirement for products Samsung could unilaterally
     4 refuse to sell would be pointless because a refusal to supply products is, in effect,
     5 not offering competitive pricing. Sophisticated parties do not bargain for
     6 commercial nullities. See, e.g., In re Lipper Holdings, LLC, 766 N.Y.S.2d 561, 562
     7 (1st Dept. 2003) (“contract should not be interpreted to produce a result that is
     8 absurd, commercially unreasonable, or contrary to the reasonable expectations of the
     9 parties”).
    10             The negotiating history here also supports Netlist. It shows that Samsung
    11 proposed—and the parties ultimately struck—contractual language suggesting that
    12 Samsung would be undertaking no supply obligation. See supra ¶ 6. The final
    13 language of the JDLA confirms that Netlist was able to extract the critical
    14 concession from Samsung that § 6.2 would have real teeth and ensure Samsung’s
    15 stable supply of NAND and DRAM products. Samsung is thus barred from
    16 advancing an interpretation of a contract that reads back in language that was struck
    17 during the parties’ negotiations. See Oldcastle Precast, Inc. v. U.S. Fid. & Guar.
    18 Co., 458 F. Supp. 2d 131, 144 (S.D.N.Y. 2006) (“The deletion of the provision
    19 clearly precludes construction of the contract as though it still contained that
    20 provision.”); Apple Computer, Inc. v. Microsoft Corp., 35 F.3d 1435, 1441 (9th Cir.
    21 1994) (courts may not read back into contracts provisions a party proposed but
    22 “gave up” in drafting negotiations); Fireguard Sprinkler Sys. v. Scottsdale Ins., 864
    23 F.2d 648, 651 (9th Cir. 1988) (“Words deleted from a contract may be the strongest
    24 evidence of the intention of the parties.”)
    25                   2.    Consideration is present here
    26             Samsung’s focus on exclusivity is a red herring. When evaluating
    27 requirements contracts in which a seller agrees to supply a buyer’s product
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     1 requirements, courts that discuss exclusivity appear to do so only where there is no
     2 other form of consideration from the buyer. “An essential element of the valid
     3 requirements contract is the promise of the buyer to purchase exclusively from the
     4 seller. In the absence of such a promise, or some other form of consideration
     5 flowing from the buyer to the seller, the requisite mutuality and consideration for a
     6 requirement contract is absent.” See Williston on Contracts § 7:12 n.28 (4th ed.
     7 2021) (citations omitted). Thus, even if the JDLA were treated as a requirements
     8 contract, a reasonable jury could conclude that the intellectual property license
     9 Samsung received from Netlist constitutes consideration for the supply agreement.
    10 Indeed, the evidence presented at trial will show that Samsung acknowledged to the
    11 Republic of Korea that the intellectual property license it received from Netlist was
    12 significant consideration for the agreement. See supra ¶ 11.
    13             Moreover, courts have recognized that the implied requirement of good faith
    14 dealing in contracts can, standing alone, provide the requisite consideration to make
    15 a non-exclusive requirements agreement enforceable. In Advent Sys. Ltd. v. Unisys
    16 Corp., for example, the Third Circuit determined that an expressly non-exclusive
    17 supply agreement was enforceable as a requirements contract. See 925 F.2d 670,
    18 678 (3d Cir. 1991). The supply agreement provided that the buyer “desires to
    19 purchase, and [seller] desires to sell, on a non-exclusive basis, certain of Advent
    20 hardware products and software licenses for resale worldwide.” Id. at 674
    21 (emphasis added). As the Advent court explained: “The same reasons that led
    22 courts to dispense with a specific and certain quantity term in the exclusive
    23 requirements context apply equally when a continuing relationship is non-exclusive.
    24 The same regulating factor—good faith performance by the parties—applies and
    25 prevents the contracts from being illusory.” Id. at 678; see also Johnson Controls,
    26 Inc. v. TRW Vehicle Safety Sys., Inc., 491 F. Supp. 2d 707, 718 (E.D. Mich. 2007).
    27 Section 2-306(1) of the New York U.C.C. explicitly adopts this position and defines
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     1 a requirements contract as an agreement that measures the “requirements of the
     2 buyer . . . as may occur in good faith.” It makes no mention of exclusivity.
     3             To the extent Samsung suggests that U.C.C. Section 2-306(1) requires
     4 exclusivity, it is wrong. See Motion at 17. As the court concluded in Amber Chem.,
     5 Inc. v. Reilly Indus., Inc. when interpreting identical language under Section 2306 of
     6 the California Commercial Code, “demanding exclusivity for all requirements
     7 contracts is contrary to the plain language” of the statute, which clearly
     8 distinguishes between requirements contracts measuring the requirements of the
     9 buyer “as may occur in good faith” and exclusive dealing agreements. No. 106-CV-
    10 06090O-WWSMS, 2007 WL 512410, at *7 (E.D. Cal. Feb. 14, 2007). Other federal
    11 courts analyzing identical statutory language have reached the same conclusion.
    12 See, e.g., Gen. Motors Corp. v. Paramount Metal Prod. Co., 90 F. Supp. 2d 861,
    13 873 (E.D. Mich. 2000) (concluding Michigan’s version of the U.C.C. “expresses a
    14 legislative intent to enforce both exclusive and non-exclusive requirements
    15 contracts”); Hoover’s Hatchery, Inc. v. Utgaard, 447 N.W.2d 684, 688 (Iowa Ct.
    16 App. 1989) (“Nothing in the statutory language of [the identical provision in the
    17 Iowa Code] . . . suggests that exclusivity is a prerequisite to the establishment of a
    18 requirements contract.”).
    19             The two cases Samsung cites are not on point. In CSL Behring, LLC v. Bayer
    20 Healthcare, LLC, the court analyzed a simple supply agreement and did not identify
    21 any other consideration provided by the buyer. See 2019 WL 4451368, at *2-3 (D.
    22 Del. Sept. 17, 2019). Similarly, in Corning Inc. v. VWR Int’l, Inc., the court found
    23 that the only “relevant” portion of the parties’ agreement provided that the buyer
    24 would purchase its product requirements from the seller, and did not identify any
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     1 reciprocal consideration by the buyer beyond the exclusivity requirement it read into
     2 the agreement. See 2007 WL 841780, at *1, 7 (W.D.N.Y. Mar. 16, 2007).2
     3             The terms of the JDLA make this case categorically different from the ones
     4 Samsung identifies. As part of the JDLA, Netlist provided Samsung with a license
     5 to its patents, and the parties agreed to a research collaboration in which Netlist
     6 would present design ideas to Samsung. See JDLA §§ 2, 8.2, Appendix A-B. The
     7 facts here also reflect that both parties were aware of the significant value of
     8 Samsung’s supply obligation to Netlist, that it was a key point of focus in the
     9 parties’ negotiations, and that Samsung understood § 6.2 to be enforceable because
    10 it began to sell substantially to Netlist after the agreement. See supra ¶¶ 2-12, 15.
    11             The patent license provided to Samsung clearly qualifies as requisite
    12 consideration. See, e.g., Weiner v. McGraw-Hill, Inc., 57 N.Y.2d 458, 464 (1982)
    13 (“[I]t is enough that something is promised, done, forborne or suffered by the party
    14 to whom the promise is made as consideration for the promise made to him.”).
    15                   3.    Options to purchase require no exclusivity
    16             Alternatively, if the Court determines that no reasonable jury could conclude
    17 there was consideration for a supply agreement because of the absence of the word
    18 “exclusive,” a reasonable jury could still conclude that § 6.2 is an options contract
    19 with an open quantity term. “An option contract is an agreement to hold an offer
    20 open; it confers upon the optionee, for consideration paid, the right to purchase at a
    21 later date.” Pfeifer v. Groisman, 997 N.Y.S.2d 706, 707 (2d Dept. 2014); see also
    22 Ittleson v. Barnett, 758 N.Y.S.2d 360, 362 (2d Dept. 2003). For example, in In re
    23 Modern Dairy of Champaign, Inc., Judge Posner noted that an agreement providing
    24
    25             2
               Moreover, the cases Samsung cites are in the context of the U.C.C.
    26 Samsung has the burden of establishing that the U.C.C. applies. See, e.g., Golisano
       v. Vitoch Interiors Ltd., 54 N.Y.S.3d 244, 245 (App. Div. 2017). It nevertheless
    27
       makes no argument for the U.C.C.’s application, nor does it explain why JDLA §
    28 6.2 would be unenforceable if the U.C.C. does not apply.
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     1 that the seller was “required to furnish to each location the number of milk
     2 containers requested by the Food Service Supervisor or school principal” could be
     3 read as a valid options contract. See 171 F.3d 1106, 1109-10 (7th Cir. 1999). As
     4 the court explained, the seller’s offer “to supply the buyer’s needs for some good at
     5 a specified price,” if supported by consideration, created an enforceable contract.
     6 Id. at 1110. New York law operates the same: “Once an optionee gives notice of
     7 intent to exercise the option in accordance with the agreement, the unilateral option
     8 agreement ripens into a fully enforceable bilateral contract.” Jarecki v. Shung Moo
     9 Louie, 95 N.Y.2d 665, 668 (2001).
    10             Here, a reasonable jury could conclude that Netlist provided consideration in
    11 the form of a license to its intellectual property in exchange for an option to
    12 purchase NAND and DRAM products from Samsung. Indeed, Samsung highlighted
    13 the value of the consideration it received from Netlist to the Korean government,
    14 stating that the patent license was the
    15                     Ex. 14 at ‘763, ‘768 (emphasis added). See JDLA § 8.2; supra ¶¶ 5-
    16 12. A reasonable jury could conclude that when Netlist sought to exercise the
    17 option triggering Samsung’s commitment to supply the products Netlist requested at
    18 low-cost prices, Samsung refused and thus breached the parties’ agreement.
    19                   4.     Courts consistently imply exclusivity provisions
    20             If the Court concludes no reasonable jury could hold that the intellectual
    21 property license granted by Netlist was consideration for the supply agreement when
    22 it is treated as a requirements clause or an options contract, judgment is still not
    23 available to Samsung. That is because a reasonable jury could conclude there was
    24 an implied commitment by Netlist to buy its requirements of the products Samsung
    25 makes from Samsung directly. Indeed, courts applying New York law and other
    26 analogous state common laws consistently look at the commercial relationship and
    27 context of the agreement to imply exclusivity. As the Federal Court of Claims has
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     1 observed, because “[i]mplied rather than express exclusivity is not unusual in
     2 requirements contracts,” courts regularly infer exclusivity based on the
     3 circumstances surrounding the parties’ dealings. Ceredo Mortuary Chapel v. U.S.,
     4 29 Fed. Cl. 346, 350 (Fed. Cl. 1993); see also Edison Elec. v. Thacher, 229 N.Y.
     5 172, 176 (1920) (“The intention is quite apparent that the company also obligated
     6 itself to take from the defendant all covers required by it and could only go
     7 elsewhere for them in case of strike or noncompliance by the defendant with the
     8 terms of the contract.”); Scantibodies Lab’y v. Church & Dwight Co., 801 F. App’x
     9 39, 40 (2d Cir. 2020) (requiring consideration of extrinsic evidence to determine
    10 whether the parties understood their agreement to require exclusivity); Mario
    11 Valente Collezioni, Ltd. v. Confezioni Semeraro Paolo, 264 F.3d 32, 37 n.2 (2d Cir.
    12 2001) (“The district court rightly determined that through their course of dealing,
    13 the parties substituted Mario Valente for AED as the exclusive distributor of
    14 defendants’ overcoats.”); Godchaux-Henderson Sugar Co. v. Dr. Pepper-Pepsi Cola
    15 Bottling Co., 1985 WL 13561, at *4 (6th Cir. 1985) (“[T]he only explanation [of the
    16 contract] consistent with the course of dealing” was that the contract was a
    17 requirements agreement.).
    18             Under New York law, the Court must consider commercial context in
    19 determining whether exclusivity was intended by the parties. See N.Y. U.C.C. § 2-
    20 306, official comment 2 (“requir[ing] the reading of commercial background and
    21 intent into the language of any agreement.”); Feld v. Henry S. Levy & Sons, Inc., 37
    22 N.Y.2d 466, 470 (1975) (“[T]he commercial background and intent must be read
    23 into the language of any agreement.”). Cyril Bath Co. v. Winters Indus. is
    24 particularly instructive here. See 892 F.2d 465 (6th Cir. 1989). In that case, the
    25 Sixth Circuit concluded that a requirements contract was enforceable even though
    26 there was no express promise of exclusivity because the seller understood that the
    27 buyer would be placing its purchase orders based on its customers’ needs. Id. at
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     1 467. There is substantial evidence that will be supplied at trial indicating that just
     2 this understanding exists in this case. Among other facts, Netlist provided regular
     3 forecasts to Samsung showing the amount of product it would need Samsung to
     4 supply based on its customer needs. See Ex. 10. Netlist even made presentations to
     5 Samsung to explain its product requirements based on specifically identified
     6 customers and emphasized to Samsung that its “[p]roduct allocation support [was]
     7 critical.” See Ex. 7 at ‘039-51; Ex. 8. For those Netlist customers who have
     8 qualified a given server or system to run on Samsung NAND and DRAM, the
     9 mutual understanding of the parties was that Netlist would obtain the product
    10 directly from Samsung. Hong Decl. ¶ 6. Indeed, for Netlist to voluntarily go to
    11 another entity for supply of Samsung NAND and DRAM when Samsung was
    12 willing to provide it would make no economic sense because
    13
    14                                                               Id.
    15             Samsung asserts that the “JDLA explicitly states that the supply relationship
    16 between Netlist and Samsung is non-exclusive, and does not require either party to
    17 purchase any products from the other.” Motion at 11-12. But neither of the
    18 contractual provisions Samsung cites (§§ 6.3, 6.4) supports its contention. Section
    19 6.3 makes clear that Samsung could continue selling its products to customers other
    20 than Netlist. It says nothing about buyside exclusivity, i.e., whether the JDLA
    21 requires Netlist to buy NAND and DRAM products exclusively from Samsung. The
    22 absence of a parallel provision on the buyside—one that expressly permits Netlist to
    23 purchase NAND and DRAM products from suppliers other than Samsung—
    24 reinforces that the parties contemplated that Samsung would be Netlist’s supplier of
    25 NAND and DRAM for Netlist’s Samsung-qualified customers. And with respect to
    26 § 6.4, that provision simply reinforces that Netlist was only obligated to purchase its
    27 requirements from Samsung. That is, in the event that Netlist had no requirements
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     1 for NAND and DRAM products, it was not subject to any minimum purchase
     2 obligation. See, e.g., HML Corp. v. Gen. Foods Corp., 365 F.2d 77, 81 (3d Cir.
     3 1966) (“[G]enerally the buyer in a requirements contract is required merely to
     4 exercise good faith in determining his requirements and the seller assumes the risk
     5 of all good faith variations in the buyer’s requirements”).
     6                   5.    Section 6.2 is not void for indefiniteness
     7             Samsung asserts that § 6.2 is unenforceable because it contains “no explicit
     8 quantity term,” Motion at 9, 17, but Samsung has waived any such argument. The
     9 argument fails on the merits as well.
    10                         a.     Samsung has waived any indefiniteness argument
    11             When the absence of a quantity term is deemed fatal to an agreement, it is
    12 because the agreement violates the statute of frauds. See Rosenfeld v. Basquiat, 78
    13 F.3d 84, 93 (2d Cir. 1996) (under statute of frauds, “the only term that must appear
    14 in the writing is the quantity.”); Int’l Com. Res., Ltd. v. Jamaica Pub. Servs. Co.,
    15 612 F. Supp. 1153, 1155 (S.D.N.Y. 1985) (U.C.C. statute of frauds “requires that
    16 the writing contain a quantity term.”); 72 Am. Jur. 2d Statute of Frauds § 223 (“In
    17 order to be sufficient as a memorandum of a contract of sale of goods, the writing
    18 must state the quantity of the goods sold.”). “Rule 8(c) of the Federal Rules of Civil
    19 Procedure enumerates certain matters that a party must plead affirmatively, among
    20 which matters is the defense of the Statute of Frauds. Failure to plead this defense
    21 results in waiver of it under Rule 12(b), (h)).” Morgan Elec. Co. v. Neill, 198 F.2d
    22 119, 122 (9th Cir. 1952). Because Samsung did not plead statute of frauds in its
    23 answer, see Dkt. 27 at 4-8, it has waived its “indefiniteness” defense.
    24                         b.     Section 6.2 is not indefinite
    25             If the Court allows Samsung to present its waived statute of frauds defense,
    26 the supply obligation still does not fail for indefiniteness because of the multiple,
    27 unmistakable indicia that the parties intended to create an enforceable contract.
    28
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     1 New York law incorporates a clear “public policy in favor of freedom of contract,”
     2 which “both promotes certainty and predictability and respects the autonomy of
     3 commercial parties in ordering their own business arrangements.” 159 MP Corp. v.
     4 Redbridge Bedford, LLC, 33 N.Y.3d 353, 359-60 (2019). Accordingly, “where it is
     5 clear from the language of an agreement that the parties intended to be bound and
     6 there exists an objective method for supplying a missing term, the court should
     7 endeavor to hold the parties to their bargain . . . Striking down a contract as
     8 indefinite and in essence meaningless is at best a last resort.” 166 Mamaroneck Ave.
     9 Corp. v. 151 E. Post Rd. Corp., 78 N.Y.2d 88, 91 (1991); see also, e.g., N.Y. U.C.C.
    10 § 2-204 (“Even though one or more terms are left open a contract for sale does not
    11 fail for indefiniteness if the parties have intended to make a contract and there is a
    12 reasonably certain basis for giving an appropriate remedy.”); Essco Geometric v.
    13 Harvard Indus., 46 F.3d 718, 728 (8th Cir. 1995) (holding contract without
    14 specified quantity term enforceable because evidence indicated that parties intended
    15 to be bound).
    16             Netlist has alleged that the parties intended to be bound—and performed as if
    17 they were bound—by the supply clause before Samsung chose to breach the
    18 contract. As recited in the FAC, Samsung supplied only about                          worth of
    19 products to Netlist prior to entering into the JDLA. FAC ¶¶ 10-11. After entering
    20 into the JDLA, Samsung substantially complied with Netlist’s requests and
    21 dramatically increased the product supply it provided in accordance with Netlist’s
    22 large volume requests (which reached as high as                      ). Id. Interpreted in the
    23 light most favorable to Netlist, these allegations demonstrate that Samsung intended
    24 to be bound by the provision it now disavows and that the parties understood the
    25 volumes that would be at issue. See Federal Ins., 258 A.D.2d at 44 (“The parties to
    26 an agreement know best what they meant, and their action under it is often the
    27 strongest evidence of their meaning.”). At a minimum, any inferences to be drawn
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     1 based on Samsung’s initial course of compliance with § 6.2 necessarily preclude
     2 granting judgment on the pleadings. See Matter of Pooling & Servicing
     3 Agreements, No. 17 Civ. 1998 (KPF), 2018 WL 1229702, *6 (S.D.N.Y. Mar. 9,
     4 2018) (extrinsic evidence bearing on parties’ intent bars judgment on the pleadings).
     5             The facts that will be adduced at trial will support Netlist’s allegations.
     6 Netlist provided regular forecasts to Samsung showing the amount of product it
     7 would need Samsung to supply. See Ex. 10. Moreover, Netlist made multiple
     8 presentations to Samsung to explain its product requirements based on specifically
     9 identified customers and emphasized to Samsung that its “[p]roduct allocation
    10 support [was] critical.” See Ex. 7 at ‘039-51; Ex. 8. Because a reasonable
    11 interpretation of the JDLA is that “both parties intended a requirements contract
    12 based on [Netlist’s] good faith needs [of product for Samsung-qualified customers],
    13 . . . the indefiniteness of the written quantity term does not invalidate the
    14 agreement.” N. Jonas Co. v. Badische Corp., 706 F.2d 1161, 1165 (11th Cir. 1983).
    15             Moreover, New York law permits courts to “supply a missing term in a
    16 contract” where the circumstances warrant it. In re World Trade Ctr. Disaster Site
    17 Litig., 754 F.3d 114, 122-23 (2d Cir. 2014). When a quantity is not mentioned in
    18 the contract, it “may be fairly and reasonably fixed by the surrounding
    19 circumstances and the parties’ intent.” Id.; see also 166 Mamaroneck Ave., 78
    20 N.Y.2d at 91 (courts look to objective external measures to supply missing terms).
    21 Thus, even if Samsung were right on the contract (and it is not), a jury could still
    22 evaluate the evidence and testimony and determine that because customers for
    23 Netlist’s high-performance memory module technologies qualify those technologies
    24 based on memory manufacturer, the quantity of NAND and DRAM products Netlist
    25 required was the amount that it would need to sell to its customers with Samsung-
    26 qualified memory systems. See R. A. Weaver & Assocs., Inc. v. Asphalt Const., Inc.,
    27 587 F.2d 1315, 1319 (D.C. Cir. 1978) (“Normally a requirements contract is based
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     1 on a seller’s obligation to supply the designated commodity to the buyer to the
     2 extent of the latter’s needs during a specified period of time.”). A jury could also
     3 find that Netlist’s requirements from Samsung were reasonably determinable from
     4 Netlist’s public filings regarding the size of its business and from regular requests
     5 and forecasts Netlist provided to Samsung. Moreover, this is not a situation in
     6 which Netlist made an unexpected request that Samsung in good faith could not
     7 supply, after which Netlist immediately sought to terminate the JDLA. Nor is this a
     8 situation in which Netlist brought a claim for material breach because of a minor
     9 shortfall in response to a request. Before the JDLA, Samsung supplied effectively
    10 no product to Netlist, and after the execution of the JDLA, Netlist and Samsung
    11 engaged in a course of dealing in which Netlist would make regular requests with
    12 which Samsung reasonably complied for nearly two years. FAC ¶¶ 10-11. The
    13 contract was definite and operating until Samsung told Netlist that it was cutting its
    14 allocation to zero and repeatedly failed to fill its requests through the period of
    15 termination. FAC ¶¶ 10-14; supra ¶ 12; Hong Decl. ¶¶ 7-12; Paik Ki Hong Decl. ¶¶
    16 4-9.
    17                   6.    There is no bar to consequential damages because of
                               Samsung’s behavior
    18
                   While JDLA § 12.5 excludes recovery of consequential damages as a general
    19
         matter, New York law provides that a defendant may not assert this defense where it
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         has acted in bad faith. See, e.g., McNally Wellman Co. v. N.Y. State Elec. & Gas
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         Corp., 63 F.3d 1188, 1198 n.9 (2d Cir. 1995); Am. Tel. & Tel. Co. v. New York City
    22
         Hum. Res. Admin., 833 F. Supp. 962, 989-90 (S.D.N.Y. 1993). Bad-faith breach is a
    23
         question of fact and is shown by “deliberate intent” or “intentional” conduct under
    24
         New York law. See McNally, 63 F.3d at 1198. The FAC pleads allegations that
    25
         provide substantial evidence of bad faith, including that Samsung performed under
    26
         the JDLA until it unilaterally determined to reverse course and cut off Netlist’s
    27
         supply. See FAC ¶¶ 11-14. The facts will provide substantial evidence in support
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     1 of these allegations, including that Samsung was specifically aware of the harm
     2 cutting Netlist’s product supply would cause but still acted intentionally to breach
     3 the contract. See supra ¶ 14. Moreover, the internal communications Samsung
     4 withheld until last week show that it knew the obligation to supply was binding yet
     5 intentionally and in bad faith acted otherwise. See Exs. 15-17.
     6             B.    Samsung’s motion fails as to Netlist’s JDLA § 3 claim
     7             Samsung’s motion on Netlist’s breach claims under § 3 of the JDLA is
     8 deficient on multiple grounds. First, Samsung’s argument is premised on an
     9 incorrect and unreasonable reading of the JDLA. Samsung argues that Netlist was
    10 required to allege that “Samsung’s 16.5% withholding violated Korean law” and
    11 specify “what Korean law . . . it violated.” Motion at 20. But that is not what the
    12 JDLA provides. The relevant provision states:
    13        To the extent that any withholding taxes are required by applicable
              law for the payment set forth in this Agreement, Samsung may deduct
    14        any applicable withholding taxes . . . and reasonably cooperate with
    15        Netlist in any lawful efforts to claim a credit or refund or exemption
              with respect to any such withholding taxes.
    16 JDLA § 3.2 (emphasis added): The JDLA is clear: Netlist does not need to allege
    17 that Samsung’s withholding violated Korean law, but only that Samsung was not
    18 “required” to withhold such taxes. Under the JDLA, even if Samsung had
    19 discretion to make a withholding under Korean law, it was not “required by
    20 applicable law” to do so. See id.
    21       Samsung’s misdirection is an attempt to avoid a fact undisclosed anywhere in
    22 its brief: Three months after Netlist filed the FAC, the Korean Tax Tribunal found
    23 that the NRE fee was not taxable in Korea and that Samsung’s withholding was not
    24 required. Ex. 13. Whether Samsung’s withholding was required under Korean law
    25 was litigated in Korea and Samsung lost. This Court may take judicial notice of that
    26 ruling, see de Fontbrune v. Wofsy, 838 F.3d 992, 995-99 (9th Cir. 2016), which
    27 obviates the need to interpret Korean tax law here.
    28
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     1             Second, Netlist’s complaint clearly alleges that it has continued to seek a
     2 lawful refund from the Korean tax authorities for the amount over-withheld, and that
     3 Netlist has “repeatedly requested that Samsung cooperate in claiming a credit,
     4 refund, or exemption for this amount.” FAC ¶¶ 15-18. As pled in the complaint,
     5 Samsung “has delayed or declined to provide the cooperation requested, and has not
     6 been forthcoming to Netlist regarding what it has done or could do to help.” Id.
     7 Moreover, Netlist specifically alleges it “suffered damages” as a “direct and
     8 proximate result of Samsung’s breach” of its obligation to “reasonably cooperate
     9 with Netlist” in obtaining the refund. Id. ¶¶ 15-18, 34. Samsung does not—and
    10 cannot—deny that Netlist’s allegations of Samsung’s non-cooperation raise issues
    11 of fact that can only be resolved by a fact-finder on a full evidentiary record. See,
    12 e.g., Maxim Integrated Prod., Inc. v. Analog Devices, Inc., 1996 WL 117425, at *3
    13 (9th Cir. Mar. 15 1996) (rejecting argument “that, as a matter of law, there was no
    14 breach” because “a dispute over the interpretation” of a contractual cooperation
    15 provision “is “properly one for the jury”). Judgment on the pleadings is improper.
    16             C.    The Motion fails as to Netlist’s declaratory judgment claim
    17                   1.     Samsung is barred from raising election of remedies
    18             Because Samsung did not plead election of remedies in its answer, it has
    19 waived that defense and cannot now raise it in its motion. See Answer, Dkt. 27 at 4-
    20 8; MBIA Ins. Corp. v. Patriarch Partners VIII, LLC, 842 F. Supp. 2d 682, 709-10
    21 (S.D.N.Y. 2012) (“Under New York law, election of remedies is an affirmative
    22 defense.”). Moreover, even if Samsung had properly pleaded that defense, which it
    23 has not, “affirmative defenses may not be raised by motion to dismiss.” Scott v.
    24 Kuhlmann, 746 F.2d 1377, 1378 (9th Cir. 1984).
    25                   2.     There has been no waiver or election of remedies
    26             The JDLA includes an express no-waiver of rights provision (§ 16.2). New
    27 York law “uniformly enforce[s] these types of clauses,” which erect a “high burden”
    28 that Samsung can overcome only by providing “evidence sufficient to demonstrate
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     1 that [Netlist] intended for the no-waiver clause to have no effect” here. Optima
     2 Media Grp. v. Bloomberg, 2021 WL 1941878, at *14 (S.D.N.Y. May 14, 2021)
     3 (quotes omitted). In light of the no-waiver clause, “the Court cannot infer” on the
     4 pleadings that Netlist intended to waive its right to terminate just because it did not
     5 do so immediately upon Samsung’s initial breach. Id.
     6             Separately, Samsung has conflated two distinct doctrines: waiver and
     7 election of remedies. See ESPN, Inc. v. Office of Com’r of Baseball, 76 F. Supp. 2d
     8 383, 388-89 (S.D.N.Y. 1999). Neither applies. Netlist alleges that Samsung
     9 continuously breached JDLA §§ 3.2 and 6.2 through its ongoing failures to
    10 reasonably cooperate with Netlist in connection with the improper withholding of
    11 Netlist’s funds and to properly supply memory products. FAC ¶¶ 13-14, 17–18, 27,
    12 32. New York law recognizes the continuing wrong doctrine, under which ongoing
    13 breaches of a contract result in a “cause of action accru[ing] anew every day for
    14 each continuation of the wrong” because “the claims for breach of that obligation
    15 are not referable exclusively to the day the original wrong was committed.” Stalis v.
    16 Sugar Creek Stores, Inc., 295 A.D.2d 939, 940-41 (N.Y. App. Div. 2002). Separate
    17 from the no-waiver clause, the continuing nature of Samsung’s repeated breaches
    18 thus provided Netlist with the ongoing right to terminate. See, e.g., Optima, 2021
    19 WL 1941878, at *15; ESPN, 76 F. Supp. 2d at 392.
    20             Waiver. “Under New York law, waiver is the voluntary and intentional
    21 relinquishment of a contract right,” which “must be based on a clear manifestation
    22 of intent” and “is not to be inferred from a doubtful or equivocal act.” Optima, 2021
    23 WL 1941878, at *13. Samsung’s supply obligation was exceedingly valuable to
    24 Netlist, and Netlist tried for as long as possible to coax Samsung into resuming
    25 compliance. See FAC ¶¶ 12-13, 17-18; Hong Decl. ¶¶ 4-5, 7-11; Paik Ki Hong
    26 Decl. ¶¶ 5-9. That was an attempt by Netlist to mitigate damages, not acquiescence.
    27 Even absent the no-waiver provision, “a party’s patience with a contractual partner
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     1 who is struggling to perform does not equate to a waiver.” Optima, 2021 WL
     2 1941878, at *14; see also S.D. Hicks v J.T. Baker Chem. Co., 307 F.2d 750, 752 (2d
     3 Cir. 1962).
     4             Election of Remedies. An election of remedies “is not a waiver of rights but
     5 an exercise of rights” requiring a party to exercise remedies “in a consistent and
     6 binding matter.” ESPN, 76 F. Supp. 2d at 390. Upon a material breach “the non-
     7 breaching party must choose . . . to terminate the contract or continue it.”
     8 Awards.com v. Kinko’s, Inc., 42 A.D.3d 178, 188 (N.Y. App. Div. 2007).
     9             Here, Netlist never made an election not to terminate the JDLA. “Good faith
    10 attempts to realize contractual benefits by negotiating with a counterparty, rather
    11 than immediately filing suit, do not constitute an election of remedies,” MBIA, 842
    12 F. Supp. 2d at 711, as the doctrine “permits parties to wait a reasonable time after
    13 learning of the alleged breaches before terminating the contract,” Bigda v.
    14 Fischbach Corp., 898 F. Supp. 1004, 1012 (S.D.N.Y. 1995). Furthermore, “whether
    15 an action has been taken within a reasonable time is a question of fact” that must be
    16 evaluated “flexibly” based upon “the nature, purpose and circumstances of the
    17 action at issue.” RIJ Pharm. Corp. v. Ivax Pharms, Inc., 322 F. Supp. 2d 406, 413
    18 (S.D.N.Y. 2004); see also, e.g., U.S. Postal Serv. v. Phelps Dodge Ref. Corp., 950 F.
    19 Supp. 504, 518 (E.D.N.Y. 1997) (similar). Such factual determinations cannot be
    20 made on a Rule 12 motion. Nor can factual determinations be made based on the
    21 pleadings as to whether “there has clearly been an irrevocable election,” “in
    22 reliance” upon which either Netlist “gained an advantage,” or Samsung “suffered
    23 some detriment.” Prudential Oil Corp. v. Phillips Petroleum Co., 418 F. Supp. 254,
    24 257 (S.D.N.Y. 1975).
    25             Lastly, because election “represents a harsh and arbitrary principle designed
    26 only to prevent vexatious litigation,” Prudential, 418 F. Supp. at 257 (quotes
    27 omitted), it is “applied sparingly by New York courts.” Optima, 2021 WL 1941878,
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     1 at *15. And it is applied with an eye to ensuring that courts do not inadvertently
     2 “create an incentive for parties to litigate” prematurely or excessively, K.M.L Labs
     3 v. Hopper., 830 F. Supp. 159, 166 (E.D.N.Y. 1993); see also U.S. Postal Serv., 950
     4 F. Supp. at 518 (“[T]here is no requirement that the injured party commence legal
     5 proceedings immediately, and the law should not create an incentive to do so”).
     6 That Netlist did not rush to the courthouse “easily could be understood to reflect a
     7 belief . . . that immediate suit was unnecessary or was unwarranted because . . . a
     8 reconciliation would occur eventually.” Luitpold Pharms., Inc. v. Ed. Gestilich
     9 Sohne A.G., 784 F.3d 78, 95-96 (2d Cir. 2015). None of the cases Samsung cites
    10 grant a Rule 12 motion on election of remedies grounds, nor do they involve a
    11 situation where, as here, the non-breaching party was making good faith attempts to
    12 coax the breaching party into resuming compliance. See Bigda, 898 F. Supp. at
    13 1011 (plaintiff “did nothing about his grievances . . . in the face of all [the] breaches
    14 that had occurred”); Dun & Bradstreet Corp. v. Harpercollins Pubs., Inc., 872 F.
    15 Supp. 103, 110 (S.D.N.Y. 1995) (no attempt made to seek breaching party’s
    16 compliance); ESPN, 76 F. Supp. 2d at (S.D.N.Y. 1999) (party’s “fail[ure] to object
    17 in any way” to counterparty’s breaches may result in waiver); Calvin Klein
    18 Trademark Trust v. Wachner, 129 F. Supp. 2d 254 (S.D.N.Y. 2001) (party
    19 knowingly accepted royalties from unauthorized sales that were the basis for claim
    20 of termination) (noting different outcome would apply if agreement contains express
    21 non-waiver clause).
    22 III.        CONCLUSION
    23             For the foregoing reasons, Netlist respectfully requests that the Motion be
    24 denied. In the alternative, Netlist should be granted leave to amend its complaint.
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     1
     2     Dated: July 26, 2021           GIBSON, DUNN & CRUTCHER LLP
     3                                    By: /s/ Jason C. Lo
                                          Jason C. Lo
     4
                                          333 South Grand Avenue
     5                                    Los Angeles, CA 90071
                                          213.229.7000
     6
                                          jlo@gibsondunn.com
     7
                                          Attorneys for Plaintiff Netlist Inc.
     8
     9
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